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                         UNITED STATES BANKRUPTCY COURT                          Filed/Docketed
                         NORTHERN DISTRICT OF OKLAHOMA                            Oct 21, 2019

In Re:                                                )
                                                      )
JAMES LESLIE DAVIS,                                   )        Case No. 19-11118-R
BARBARA ANNE DAVIS,                                   )        Chapter 7
                                                      )
                               Debtors.               )

                          ORDER SUSTAINING MOTION TO
                     DIRECT DEBTORS TO TURNOVER PROPERTY

         This matter comes on before me on the Request for Order Sustaining Amended Motion to

Direct Debtors to Turnover Property filed by Scott P. Kirtley, Trustee, and it appearing to the Court

that the Trustee's Motion should be, and hereby is, granted.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Debtors are

ordered to turn over to Scott P. Kirtley, Trustee, copies of the Debtors’ 2018 federal and state

income tax returns, along with the Debtors’ 2018 income tax refund checks or that amount of money

that represents the refunds.

         DATED this 21st day of October, 2019.


                                                             DANA L. RASURE, CHIEF JUDGE
                                                             UNITED STATES BANKRUPTCY COURT


Submitted by:

s/Scott P. Kirtley
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